Case 1:21-cv-06305-AT Document16 Filed 11/03/21 Page 1 of1

 

 

USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK SEES TEOMA EES SEED
Raphy Sanchez, DOC #:
DATE FILED: _ 11/3/2021
Plaintiff,
-against- 21 Civ. 6305 (AT)
2050 Valentine Avenue LLC and, Chestnut ORDER
Holdings of New York, Inc.,
Defendants.

 

 

ANALISA TORRES, District Judge:

The parties’ deadline to submit a joint letter and proposed case management plan is
ADJOURNED to December 13, 2021, to allow mediation to proceed.

SO ORDERED.

Dated: November 3, 2021
New York, New York

O4-

ANALISA TORRES
United States District Judge

 
